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                  CASE MANAGEMENT REQUIREMENTS


  Parties must adhere to the following requirements in all civil cases pending before
United States District Judge Robert J. White.

I.    General Requirements

   A. Civility. Counsel should review and abide by this District’s Civility
Principles. Counsel shall treat all litigation participants—and each other—with
professionalism, courtesy, and respect. Violations will not be tolerated.

   B. Local counsel. An attorney admitted to practice in this District who appears
as attorney of record and is not an active member of the State Bar of Michigan must
specify local counsel with an office in this District. Local counsel must enter an
appearance and otherwise comply with Local Rule 83.20(f). All inquiries regarding
admission to this District should be directed to the Clerk’s Office at (313) 234-5005.

    C. Telephone status conferences. Counsel are encouraged to contact the Court’s
case manager and schedule a telephone/Zoom/Microsoft Teams status conference to
try and resolve issues or disputes without motion practice.

   D. Ex parte communications. Such communications are permissible between
counsel and the Court’s case manager regarding scheduling issues or administrative
matters only. Communications with law clerks require the Court’s express approval.

II. Discovery

   A. Conferences. If an answer is filed, the Court will enter an order to appear for
a Rule 16 scheduling conference to discuss the Fed. R. Civ. P. 26(f) report the parties
submitted ahead of that conference. The Court will issue a scheduling order at, or
immediately after, the conference. If a motion to dismiss is filed, the Court may or
may not convene a scheduling conference until after the motion is decided.

   B. Discovery dispute protocol. Parties may not file discovery motions until they
have complied with the following discovery dispute protocol:

     • Step 1: Meet and Confer. The parties must meet and confer in a good-faith
       effort to resolve their differences without Court intervention. An email
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      exchange is not sufficient. The failure of a party to make itself available for
      this conference may result in sanctions.

   • Step 2: Call the Court. If Step 1 fails, the moving party must schedule a
     telephone conference with the Court prior to filing any motion. Counsel must
     email the Court’s case manager with (i) the conference request, (ii) a concise
     summary of the dispute, and (iii) a certification that Step 1 was completed. At
     least 24 hours prior to the conference, each side shall exchange with each
     other, and submit to the Court through CM/ECF Utilities, a one-page summary
     of the dispute.

   • Step 3: File a Motion . If the conference does not resolve the dispute, the Court
     will either entertain a motion or refer it to the assigned magistrate judge. The
     motion must attach a complete copy of the discovery requests and responses
     in dispute. If the motion involves a deposition that has already taken place,
     the motion must attach a complete transcript (not a minuscript).

    Failure to comply with these steps may result in an award of costs and reasonable
attorney fees against the non-complying party.

   C. Protective orders. If a protective order is necessary, the Court encourages the
parties to stipulate to a proposed order and submit it for review using the Utilities
function in CM/ECF. The proposed order must include language that references
Local Rule 5.3. Protective orders may not contain language that authorizes in
advance the filing of documents under seal. Local Rule 5.3 governs filings under
seal and the Court requires the parties to follow those procedures. Wherever
possible, the parties are encouraged to redact portions of documents rather than
sealing entire documents.

   D. Extending discovery timeframes. Parties may agree to extend the discovery
cutoff period by submitting a proposed stipulation and order through the Utilities
function in CM/ECF, provided the extension does not affect the dispositive motion
cutoff, final pretrial conference, or trial dates. The stipulation must include the
reason(s) for the requested extension. Any extensions or adjournments of those other
three events will be considered only upon the filing of a timely written motion,
including a joint motion.




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III. Motion practice

    A. Brief format. The parties are to append the Brief Format Certification Form
to the back of every brief filed with this Court. The brief will be stricken if the form
is not attached. The Court’s requirements for briefs are as follows (many of these
requirements are listed on the Brief Format Certification Form as well):

   • Briefs must strictly comply with Local Rules 5.1 and 7.1.
   • Documentary evidence and briefs, especially deposition transcripts, must be
     filed in a searchable PDF format. For example, counsel should obtain a PDF
     version of a deposition transcript or email rather than scanning in a hardcopy
     of the document. Briefs should be electronically converted from Word to .pdf.
   • Statements of fact must be supported with a pincite to record evidence.
   • To avoid duplication, the first party to cite to a document must attach the full
     version of that document to its brief; non-moving parties must then cite to that
     version on the docket (rather than attach its own duplicate version) using this
     District’s citation format.
   • A party citing to previously docketed evidence must cite to that evidence by
     its “ECF No.” and “PageID.” found in the CM/ECF header—e.g., (ECF No.
     ##, PageID.###-###). See E.D. Mich. Elec. Filing Policies & Proc. R6.
   • Deposition transcripts should be filed in standard, not minuscript, form.
   • The parties are not to include copies of unpublished cases that are available
     on Westlaw or Lexis.
   • A brief may not have more than 10 footnotes (less is strongly preferred). Any
     brief with more than 10 footnotes will be stricken. Citations to cases or statutes
     are to be inline as opposed to in footnotes.
   • Unless the Court gives express permission, parties are not permitted to file a
     motion as part of a response brief. See E.D. Mich. LR 5.1(e), 7.1(i).

    B. Courtesy copies. A courtesy copy must be mailed to chambers if a brief and
its exhibits total 50 or more pages. The courtesy copy should be the actual e-filed
document with a CM/ECF header atop each page, bound by spiral or three-ring
binder, and printed single-sided with all exhibits tabbed.

    C. Page extensions. Requests for excess pages are discouraged. Before any such
request is made, the party should try to shorten its brief (by, for instance, succinctly
stating well-known legal rules and standards). Parties must make such requests
through a motion for leave before the briefing deadline: at least one day before the
deadline if seeking fewer than five excess pages, and at least one week before the


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deadline if seeking five (or more) excess pages. The Court may strike the motion for
leave from the docket, or deny the motion altogether, if the requesting party fails to
adhere to these procedures.

    D. Time for responses and replies. Unless the Court indicates otherwise, the time
limits for response and replies are prescribed in Local Rule 7.1(e). The Court will
treat as unopposed any motion to which a timely response is not filed.

   E. Requirements for specific types of motions.

      1. Motions to amend. A party who moves to amend a pleading must attach
   the proposed amended pleading to the motion in accordance with Local Rule
   15.1. The document must be redlined to show the proposed changes.
      2. Summary judgment motions. Before filing a motion for summary
   judgment under Fed. R. Civ. P. 56, the parties should note the following:

   • A brief in support of a Rule 56 motion must begin with a “Statement of
     Material Facts.” The Statement must consist of numbered paragraphs
     describing the facts to which the moving party contends there is no genuine
     issue and that entitle the moving party to judgment as a matter of law. Each
     paragraph must include specific references and citations to record evidence.

   • A brief in opposition to a Rule 56 motion must begin with a “Counter-
     statement of Material Facts,” stating which facts are admitted and which are
     contested. The paragraph numbering must correspond to the moving party’s
     Statement of Material Facts. If any of the moving party’s proffered facts are
     contested, the non-moving party must explain the basis for the factual
     disagreement, with references and citations to record evidence. The non-
     moving party may raise additional material facts not implicated by the moving
     party’s Statement under the separate heading “Statement of Additional
     Material Facts.” The Statement of Additional Material Facts must consist of
     numbered paragraphs, and each paragraph must include specific references
     and citations to record evidence.

   • If the non-moving party raises additional material facts not addressed in the
     moving party’s Statement, the moving party must begin its reply brief with a
     “Reply to Counter-statement of Material Facts,” stating which of the non-
     moving party’s additional facts are contested. The paragraph numbering must
     correspond to the non-moving party’s Statement of Additional Material Facts.


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      If any of the non-moving party’s proffered additional facts are contested, the
      moving party must explain the basis for the factual disagreement, referencing
      and citing record evidence.

   • Statements of Material Facts, Counter-statements of Material Facts,
     Statements of Additional Material Facts, and Replies to Counter-statements
     of Material Facts all count toward the page limit.

      Under Rule 56(d), the Court may deny summary judgment if the non-moving
   party has not had the opportunity to discover essential evidence. Local Rule
   7.1(b) also requires a party to obtain the Court’s leave to file more than one
   summary judgment motion.

       3. Temporary restraining orders and preliminary injunctions. The Court
   strictly adheres to Fed. R. Civ. P. 65 and Local Rule 65.1. Parties must notify the
   Court’s case manager by telephone (313-234-5180) upon filing a motion for a
   temporary restraining order. The Court rarely grants a temporary restraining order
   without notice to the opposing party. See Fed. R. Civ. P. 65(b)(1).

       Parties must also notify the Court’s case manager by telephone upon filing a
   motion for preliminary injunction. The Court will typically hold a status
   conference shortly after receiving a preliminary injunction motion. The purpose
   of the conference is to set a briefing schedule and hearing date. The Court will
   then issue a scheduling order (e.g., this sample order). Please review the
   scheduling order for additional information about the Court’s procedures.

IV. Settlement conferences and mediations

    Parties may stipulate to case evaluation or private facilitative mediation, or
request a settlement conference with the district or magistrate judge at any time. In
all cases, a brief status conference will occur at the mid-point of the case and again
shortly before or after the close of discovery to discuss settlement options. If the
parties agree to private facilitation, they must complete the Court’s facilitation form.

V. Motions in limine

   Motions in limine must be filed by the deadline(s) set in the Court’s scheduling
orders. These motions should not recast issues previously presented in summary
judgment or discovery motions; they instead alert the Court to significant evidentiary



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issues that should be addressed prior to trial. The Court will generally decide these
motions at the Final Pretrial Conference but may defer a decision until trial.

VI. Materials in advance of final pretrial conference

   On the date that the Proposed Final Pretrial Order is due (see the date set in the
scheduling order or any subsequent order the Court issues), the parties are to submit
through the Utilities function in CM/ECF items A through F below:

   A. Proposed final pretrial order. Parties are to strictly adhere to Local Rule 16.2
in jointly preparing a Proposed Final Pretrial Order, except as this Court may
otherwise provide.

   B. Proposed voir dire. It is the Court’s practice to conduct voir dire. The Court
will, however, entertain requests for follow-up and additional voir dire on a limited
basis and may permit counsel to conduct such voir dire. In such instances, counsel
must confine themselves to true voir dire and not engage in posturing or argument.
While the Court has standard voir dire questions, counsel may submit a joint list of
no more than fifteen other inquiries specific to the cause(s) of action that they want
the Court to include.

   C. Joint statement of the case. Counsel shall prepare a one-to-three paragraph
joint statement of the case that the Court will read to the prospective panel of jurors
during the voir dire. This statement is to be informative, not argumentative.

   D. Proposed jury instructions. Parties are to meet and confer prior to trial to
prepare jury instructions on the substantive law of the case. In accordance with the
scheduling order (or in any subsequent scheduling order), the parties are to file
through the Utilities function in CM/ECF a single set of proposed, stipulated jury
instructions. The Court expects most of the proposed instructions to be agreed upon.
The parties are advised to consult this District’s Jury Instruction Repository, Federal
Jury Practice and Instructions (available on Westlaw by searching for “Federal Jury
Practice & Instructions”), Modern Federal Jury Instructions (available on Lexis by
searching for “Modern Federal Jury Instructions”), pattern jury instructions from
other Circuit Courts, and insofar as Michigan law governs, the Michigan Model Civil
Jury Instructions.

    If the parties cannot agree upon a particular instruction despite their good faith
efforts, each party must submit a proposed instruction under a single heading
followed by a brief, one-paragraph statement either supporting their version or


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arguing why the instruction should not be given, with supporting authority. All
instructions, both stipulated and contested, shall be presented in sequential order and
in a single document. The parties should include a citation to the model instruction
if a proposed instruction is based upon a model source.

   E. Proposed verdict form. The parties are to meet and confer prior to trial to
prepare a proposed joint verdict form. If the parties cannot agree on a proposed
verdict form, they may submit separate verdict forms with supporting authority.

   F. Exhibit list. The parties shall submit an Exhibit List in the following format:

       Exhibit             Description           Objections             Received

   Indicate “S” in the “Received” column for stipulated exhibits. Add concise
grounds for contested exhibits in the “Objections” column (e.g., “relevance,” “prior
acts”).

VII. Final pretrial conference

   The Court will often hear oral argument and rule on any pending motions in
limine at the Final Pretrial Conference. The Court will also discuss trial procedures
and identify any issues or deficiencies revealed in the final pretrial order and pretrial
submissions. The Court typically conducts a settlement conference at the Final
Pretrial Conference. So trial counsel must be present at the Final Pretrial Conference
with their clients (or a client representative) and have settlement authority.

VIII. Trial

   A. Exhibits. Counsel must mark and exchange all proposed exhibits at least three
days before the start of trial. The preferred format is “Plaintiff’s Exhibit __” and
“Defendant’s Exhibit __” in sequential order. Any clearly marked method is
acceptable (e.g., using numbers or letters).

   At least one day before trial, the parties must provide the Court with a set of the
marked exhibits on a thumb drive or in a three-ring binder with the Exhibit List in
front and exhibit numbers displayed prominently in corresponding tabs. Omitting an
exhibit from the Exhibit List may result in sanctions. See Fed. R. Civ. P. 37(a)(1).




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   Counsel must keep track of the exhibits the Court admits. Counsel must confer
and maintain one set of admitted exhibits. The set of admitted exhibits should be
ready for submission to the jury prior to the closing jury instructions.

    B. Bench Trials. Fourteen days before trial, each party must serve on opposing
counsel their Proposed Findings of Fact and Conclusions of Law. Each party should
review the other’s Proposed Findings and Conclusions, and then make changes to
their own proposed Findings and Conclusions as necessary. Seven days before trial,
each party shall email the Court’s case manager an editable Word version of their
Proposed Findings of Fact and Conclusions of Law. If modifications have been made
since the parties’ exchange, each party shall re-serve their Proposed Findings and
Conclusions on the other parties. During the trial, parties shall be prepared to submit
to the Court, and to exchange among themselves, supplemental Findings of Fact and
Conclusions of Law.

   C. Additional trial requirements. This list of trial requirements is not exhaustive.
Additional requirements may be set forth in the Court’s Final Pretrial Order or
explained during the Final Pretrial Conference.




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